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1                         THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
2                                     ATLANTA DIVISION
3        DONNA CURLING, et al.,
4                    Plaintiffs,
                                                     CIVIL ACTION FILE
5             vs.
                                                     NO. 1:17-CV2989-AT
6        BRAD RAFFENSPERGER, et
         al.,
7
                     Defendants.
8        ______________________
9
10                   VIDEOTAPED DEPOSITION OF DONNA CURLING
11                        TAKEN BY REMOTE VIDEOCONFERENCE
12
13                                    January 19, 2022
14                                          9:33 a.m.
15
16
17
18
19
20      REPORTED REMOTELY BY:
21      LAURA R. SINGLE, CCR-B-1343
22
23
24
25

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1                              A P P E A R A N C E S
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1              exhibits, Todd?
2                      MR. SPARKS:     We see Exhibit 1 and Exhibit 14
3              on the screen, yes.
4                      MR. BELINFANTE:        Oh, here it is.      I got it.
5              Okay.     Sorry.
6       BY MR. BELINFANTE:
7              Q.      All right.     Ms. Curling, do you personally
8       know Dr. Alex Halderman?
9              A.      Yes, I do.
10             Q.      Okay.   When did you meet Dr. Halderman?
11             A.      Probably around 2008 or '9, I believe but
12      I -- I -- honestly, I don't know.
13             Q.      Okay.
14             A.      It's been many years.
15             Q.      Okay.   So it's fair to say you've known him
16      before you filed the initial lawsuit in 2017?
17             A.      Yes; but not well.
18             Q.      Okay.   How did you come to know him?
19             A.      In the early 2000s, I worked as a
20      legislative liaison back and forth to D.C. with
21      another coworker from at the time Vote Trust USA; and
22      we -- we worked with a lot of experts and Alex was
23      one.
24             Q.      Tell me about Vote Trust USA.           Is that still
25      an organization that's around today?

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1              A.    It is not.
2              Q.    Okay.    What was your role with Vote Trust
3       USA?
4              A.    I was just a member of the group, and we
5       were all working with Representative Rush Holt's
6       office at the time to try to get legislation
7       nationally to get rid of DREs.
8              Q.    And was that a paid position or volunteer
9       position?
10             A.    Volunteer.
11             Q.    Okay.    And what was Vote Trust USA's main
12      concern with DREs?        And before you answer that, let
13      me ask you if you could just define for the record
14      what you mean by DRE?
15             A.    Direct reporting electronic device that
16      records your vote.
17             Q.    And the Diebold voting machines that Georgia
18      used to use would be an example of a DRE machine,
19      correct?
20             A.    That's correct.
21             Q.    Okay.    And so what was the main criticism
22      that Vote Trust USA had of the DRE system?
23                   MR. SPARKS:       Objection.            It calls for
24             speculation.
25      BY MR. BELINFANTE:

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1              Q.    You can answer the question, if you know.
2              A.    Oh, okay.      Well, we -- we -- and I -- I
3       include myself in this -- objected to the fact that
4       there was no paper trail and that it was software
5       dependent and you were literally putting your vote
6       into a black box and assuming, hoping that it would
7       be counted as you cast it, but there were no
8       guarantees and there was no fall-back to verify.
9              Q.    And that's because the DRE system -- when
10      you say there was no paper trial, there was no
11      document that a voter could have, touch, et cetera,
12      to look and see how their vote was cast; is that
13      correct?
14             A.    That's correct.
15             Q.    All right.       And Dr. Halderman also shared
16      those concerns about DREs; is that right?
17             A.    Oh, yes.
18                   (Exhibit 14 was marked for
19             identification, attached at the end of
20             the original transcript.)
21      BY MR. BELINFANTE:
22             Q.    All right.       I'm going to show you -- and I'm
23      sorry this out of order -- what we have marked as
24      Exhibit 14.      Let me know -- can you see that,
25      Ms. Curling?

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1       marking devices or DREs at this point?
2              Q.    This definition refers to BMDs, as I
3       understand it.       Is that your understanding?
4              A.    Okay.    That's what it appears.               I just
5       wanted to make sure.
6              Q.    Okay.    Yeah, that's my understanding.
7                    All right.       What facts are you aware of that
8       support the contention that the components of the
9       election system was actually hacked prior to or
10      during the elections held on November 3rd, 2020?
11                   MR. SPARKS:       Objection.            It calls for a
12             legal conclusion and speculation.
13      BY MR. BELINFANTE:
14             Q.    Ms. Curling, you can answer, if you know;
15      but I didn't know if you were thinking or if you were
16      just --
17             A.    Oh, I'm sorry.         After -- I'm -- I'm a little
18      unclear when he objects that I'm -- that I'm still
19      allowed to answer or supposed to answer.
20                   Could you --
21             Q.    That's fair.
22             A.    -- repeat the question?
23             Q.    I'd be happy to.
24                   Are you aware of any facts that support the
25      contention that or the idea that components of the

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1       election system were actually hacked prior to or
2       during the elections held on November 3rd, 2020?
3                    MR. SPARKS:      Same objection.
4                    You may answer.
5                    THE WITNESS:       And I am aware of none, no.
6       BY MR. BELINFANTE:
7              Q.    All right.      Sorry.       I've got to work through
8       the document system now.
9                    (Exhibit 15 was marked for
10             identification, attached at the end of
11             the original transcript.)
12      BY MR. BELINFANTE:
13             Q.    All right.      I'm going to show you what we've
14      marked as Exhibit 15.
15                   MR. BELINFANTE:         Mr. Sparks, do you want to
16             pull that up on yours or do you want to use what
17             we've got here?
18                   MR. SPARKS:      Ms. Curling, are you able to
19             read the text or would you like me to --
20                   THE WITNESS:       Yeah.      I can -- I can read it.
21                   MR. SPARKS:      For the moment, we're fine with
22             your screen share at the moment now, Counsel.
23             I'll let you know if we need to switch.
24                   MR. BELINFANTE:         Got it.        Thank you.
25      BY MR. BELINFANTE:

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1              Q.      Ms. Curling, have you seen this document
2       before?
3              A.      Yes, I have.
4              Q.      Okay.     And did you assist in providing
5       answers to the request for admissions submitted by
6       Secretary Raffensperger?
7                      MR. SPARKS:      Ms. Curling, I'm going to
8              instruct you at this time not to answer with any
9              information that would reveal attorney-client
10             privileged information or any of the work product
11             that your attorneys have provided you in this
12             case.
13      BY MR. BELINFANTE:
14             Q.      And to that point, Ms. Curling, I'm not
15      asking what you said.           I'm just asking if you
16      assisted in providing answers.
17             A.      It was a joint effort between myself,
18      co-Plaintiffs, and the attorneys to answer these
19      questions.
20             Q.      All right.      Thank you.
21                     Let me show you request for admission
22      number three.          Here it says:        Admit that you have no
23      evidence that any component of the election system
24      was actually hacked prior to or during the elections
25      on November 3rd, 2020.

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1                    The response was denied.               Why was that
2       denied?
3                    MR. SPARKS:      Objection to the extent it
4              misstates the record and calls for a legal
5              conclusion.
6       BY MR. BELINFANTE:
7              Q.    You can answer.
8              A.    I think because there's no way to know one
9       way or another, but there -- there were a -- there
10      was a lot of diligence done after the election that
11      gave me confidence in the election results of 2020.
12             Q.    Okay.    And I will show you these were
13      provided to us on January 14, 2021.                  Do you see that?
14             A.    Yes, I do.
15             Q.    Okay.    And sitting here today, are you aware
16      of any evidence that any component system of the
17      election system was actually hacked prior to or
18      during the elections held on November 3rd, 2020?
19                   MR. SPARKS:      Objection to the extent it
20             calls for a legal conclusion.
21                   And to the extent it asks you to reveal
22             privileged or protected conversations with
23             counsel, please do not answer.
24                   MR. BELINFANTE:         Mr. Sparks, do you want to
25             tell me what the attorney-client privilege is if

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1       BY MR. BELINFANTE:
2              Q.      Ms. Curling, I'll note that your counsel is
3       not instructing you not to answer the question
4       completely, so do you need me to ask it again?
5              A.      Are you asking me if I'm aware of any hacks
6       on the system for 2020?            Is that your question?
7              Q.      Yes.   My question is effectively the request
8       for admission number three.               Sitting here today, are
9       you aware of any evidence that any component of the
10      election system was actually hacked prior to or
11      during the elections held on November 3rd, 2020?
12             A.      I am not.
13                     MR. SPARKS:      Same objection and instruction.
14      BY MR. BELINFANTE:
15             Q.      Sitting here today, are you aware of any
16      facts that would show that the results of any
17      election held in Georgia on November 3rd, 2020, were
18      actually changed in any way as a result of hacking or
19      the insertion of malware into any component of the
20      election system?
21                     MR. SPARKS:      Objection to the extent it
22             calls for a legal conclusion.
23                     Same instruction.          Please don't reveal any
24             privileged information.              You may answer if you
25             know.

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1                    THE WITNESS:       I do not know of any.
2       BY MR. BELINFANTE:
3               Q.   All right.      So why -- were you aware of any
4       on -- were you aware of any evidence on January 14,
5       2021?
6               A.   I guess I'm confused.             You're going to have
7       to clarify what you're asking.
8               Q.   Sure.
9                    On January 21 of last year, we asked you to
10      admit that you had no evidence that any malware was
11      actually inserted into any component of the election
12      system prior to or during the elections held on
13      November 3rd, 2020.        You denied that.
14                   I'm asking, why was it denied?             Did you have
15      evidence at that time that there was actually malware
16      inserted into any component of the election system
17      prior to or during the elections held on November 3rd
18      of 2020?
19              A.   Can I answer?
20                   MR. SPARKS:      You may answer to the extent it
21              doesn't reveal privileged or protected
22              conversations with counsel.
23                   THE WITNESS:       I -- I would maintain that
24              there's no evidence either way really.
25      BY MR. BELINFANTE:

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1               Q.      I'm sorry.    You maintain that there was
2       what?        I just lost you in there.
3               A.      That -- that the -- I'm not aware of any
4       evidence.
5               Q.      Okay.   And is it true that you've never been
6       aware of any evidence that malware was inserted into
7       any component of the election system prior to or
8       during the elections held on November 3rd of 2020?
9               A.      Yes.
10              Q.      So do you know why the request was denied?
11              A.      I'm assuming at the advice of counsel, but
12      I -- I'm unclear with this line of questioning
13      exactly what you're going for.
14              Q.      Okay.   On January 21 of 2021 -- in January
15      of 2021, were you aware of any evidence that the
16      results of any election held in Georgia on
17      November 3rd, 2020, were actually changed in any way
18      as a result of the hacking or the insertion of
19      malware into any component of the election system?
20              A.      I was not aware, no.
21              Q.      Sitting here today, are you aware of any
22      evidence that the results of any election held in
23      Georgia on November 3rd, 2020, were actually changed
24      in any way as a result of the hacking of or the
25      insertion of malware into any component of the

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1       election system?
2              A.     No.
3                     MR. SPARKS:     Counsel, to the extent my
4              instruction concerning the wording of the
5              question you use -- and I'm not trying to
6              interrupt for the sake of [indiscernible], so
7              I've not been objecting each time.             I'll -- with
8              your permission, I'll just leave that instruction
9              and objection of the wording of the question on
10             the table and any others that resemble it.                Would
11             you mind if --
12                    MR. BELINFANTE:        Yeah, that's agreeable.         I
13             think that's the only one I'll have on that
14             request.
15      BY MR. BELINFANTE:
16             Q.     Ms. Curling, are you contending that the BMD
17      machines switched votes from one candidate to
18      another?      And by that I mean if someone were to press
19      Donald J. Trump for president and the vote was
20      actually recorded as Joseph Biden for president.
21             A.     Is your question am I aware of such a thing?
22             Q.     Yes.
23             A.     No, I am not.
24             Q.     Are you contending that BMDs actually switch
25      votes?      Understanding you're not aware of any

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1       incident of that occurring but are you contending
2       that the BMDs have, in fact, switched votes from one
3       candidate to another in contraindication to the
4       voter's choice?
5              A.    That is not my contention, no.
6              Q.    Okay.    Are you contending that the BMDs
7       malfunctioned during the 2020 election in Georgia,
8       November 2020?
9                    MR. SPARKS:      Objection.            It calls for
10             speculation.
11                   THE WITNESS:       Yeah.      I don't -- I don't know
12             the answer to that question.                 I have not
13             researched it.
14      BY MR. BELINFANTE:
15             Q.    All right.      Is it an argument that you're
16      advancing in the lawsuit -- are you trying to
17      convince the Court that any BMD in the state of
18      Georgia malfunctioned during the 2020 November
19      election?
20                   MR. SPARKS:      Objection; asked and answered.
21                   You can answer.
22                   THE WITNESS:       I may answer?
23                   MR. SPARKS:      I objected because it's been
24             asked and answered.
25                   THE WITNESS:       Oh, okay.

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1                    MR. SPARKS:      You may answer the question.
2                    THE WITNESS:       I don't know.
3       BY MR. BELINFANTE:
4              Q.    Okay.    Sitting here today, are you aware of
5       any incident where the election system failed to
6       count any legal vote or votes in the presidential
7       election held until November of 2020 in the state of
8       Georgia?
9              A.    I do not know.
10             Q.    Sitting here today, are you aware of any
11      incident where the election system counted an illegal
12      vote or a vote that should not have been counted in
13      the state of Georgia on November election 2020?
14             A.    I'm not aware.
15             Q.    Ms. Curling, what did you do to prepare for
16      today's deposition?        And as you answer, I'm
17      specifically not asking you to tell me of any
18      conversations with counsel.
19             A.    I went over my declarations and kind of
20      tried to refresh my memory because this lawsuit has
21      been going on for quite some time, and that's
22      basically all.
23             Q.    How long did it take you to prepare for
24      today's deposition?
25             A.    A couple of hours.

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1              A.    No.
2              Q.    Okay.    It's just one of the questions we
3       have to ask.       I'm not trying to --
4              A.    Okay.    Okay.
5              Q.    Can you tell me your education history?
6              A.    I have a high school education and two and a
7       half years of college, but I never finished.
8              Q.    Where was the college?
9              A.    UNC Charlotte.
10             Q.    Have you had any formal training in election
11      law?
12             A.    No, I have not.
13             Q.    Okay.    Any formal training in computer
14      security?
15             A.    No, I have not.
16             Q.    Any formal training in election
17      administration?
18             A.    No, I have not.
19             Q.    Have you ever worked at a polling place?
20             A.    I haven't.
21             Q.    Have you ever worked on a campaign?
22             A.    No.
23             Q.    Have you ever had any training on absentee
24      ballots?
25             A.    No.

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1              Q.    Have you had any formal training related to
2       cyber security --
3              A.    No.
4              Q.    -- or computer security?
5                    Okay.    Have you ever attended seminars on
6       cyber security?
7              A.    In 2017 I went to Las Vegas for -- I've
8       forgotten the name of the event.                Black -- does
9       anybody remember?        I don't remember what the event
10      was; but, yes, we had different forums where we could
11      choose what we wanted to go learn about, hear various
12      speakers.     And there was a hacking village there, so
13      they were showing the flaws in some of the systems.
14             Q.    And when you say systems, do you mean
15      election systems?
16             A.    Yes.
17             Q.    Okay.    Was the event called DEFCON?
18             A.    Yes, it was.
19             Q.    Okay.    All right.        Tell me about the hacking
20      village.     I've actually never seen one, so can you
21      just tell me kind of what it looks like if I were to
22      walk up to one and see it?
23             A.    Well, they -- the room was full of machines;
24      and various experts were there trying to break them,
25      trying to break into all the different systems that

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1       they had there in the room.
2              Q.    Okay.     And so it was an open -- open room
3       and people were doing this in the open; is that --
4              A.    Yes.     Yes.   Some people were wandering
5       through and observing what -- all the various things,
6       yes.
7              Q.    I see.
8                    Okay.     So when you went in 2017 to Las Vegas
9       to the DEFCON group, did you see the former system
10      that Georgia used to have, the Diebold DRE?                 Was that
11      something you saw in the hacking village?
12             A.    I don't -- I'm not -- I honestly don't
13      remember, but I think so.            I think it was there.
14             Q.    Okay.     Do you recall seeing Georgia's
15      current Dominion election system in the hacking
16      village in 2017?
17             A.    I do not recall and wasn't even aware of the
18      Dominion system at that point in time.
19             Q.    All right.      Do you know how long people in
20      the hacking village had with the machines?                I mean,
21      was this something that was open all week?                Was it --
22      or was it timed that people went in and had
23      30 minutes and then left; do you know?
24             A.    I honestly don't know, no.
25             Q.    Okay.     Have you had any formal training on

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1       the Dominion voting systems that Georgia currently
2       utilizes?
3              A.    No.
4              Q.    Okay.     Have you had any formal training on
5       the old system that Georgia used to use, the DRE
6       system from Diebold?
7              A.    No.
8              Q.    Have you ever attended any seminars where
9       the current BMD system that Georgia uses was
10      discussed?
11             A.    No.
12                   (Exhibit 16 was marked for
13             identification, attached at the end of
14             the original transcript.)
15      BY MR. BELINFANTE:
16             Q.    I'm going to share my screen again.                I'll
17      show you what we have marked -- oh, I marked it.
18      Yeah, there it is -- as Exhibit 16.                 I think that
19      actually should -- I think I had an Exhibit 16.                    I'm
20      not sure why it's 16.          Well, that's something we'll
21      correct later.
22                   This is the declaration that was filed it
23      looks like in August 7 of 2018 in this case.                   Have
24      you seen this document before, Ms. Curling?
25             A.    Yes.

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1              Q.    Okay.    And just for the record, it looks
2       like it was signed on August 7 of 2018.               Is that
3       accurate?
4              A.    That's accurate.
5              Q.    And that's your signature?
6              A.    Yes, it is.
7              Q.    Okay.    Did you type up this affidavit or was
8       it prepared for you -- or declaration?               Excuse me.
9              A.    I did not type it up, I don't think; but I
10      told the -- told -- I gave the details of what
11      occurred.
12             Q.    All right.      Looking at paragraph 2, you say
13      that you intend to vote in all future elections.                   Is
14      that still true?
15             A.    Yes.
16                   MR. SPARKS:      Counsel, I have a paper copy of
17             all the declarations Ms. Curling has filed in the
18             case that's clean.        Would you object to me
19             handing her a paper copy so she can read it more
20             cleanly?
21                   MR. BELINFANTE:         As long as they're not
22             marked, that's fine with me.
23                   MR. SPARKS:      They are not marked.          They are
24             printed as filed and no markings have been made
25             on them.

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1                     MR. BELINFANTE:         Great.         Yeah.   Not a
2               problem.
3       BY MR. BELINFANTE:
4               Q.    Ms. Curling, paragraph 3 says that you are
5       the legislative liaison for Georgians for Verified
6       Voting.      Can you tell me what Georgians for Verified
7       Voting is?
8               A.    Georgians for Verified Voting is a group
9       that really consists of Donna Price and myself.                       The
10      title of legislative liaison is -- we've never
11      changed it, and when we first started Georgians for
12      Verified Voting was when I was going back and forth
13      to D.C.      And that was where my focus was, but I don't
14      have anything to do with legislation and haven't in
15      many years.
16              Q.    Okay.   Does Georgians for Verified Voting
17      have a mission statement?
18              A.    Yes.
19              Q.    Do you know the mission statement?
20              A.    I do not.     I do not.
21              Q.    Okay.   Can you tell me what your
22      understanding of the mission for Georgians for
23      Verified Voting -- well, let me back up before I ask
24      that.
25                    Is Georgians for Verified Voting still an

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1       active organization?
2              A.    It's -- I guess it is.             It's a website where
3       we try -- well -- and when -- by we, I mean my
4       partner Donna Price handles all of the posting things
5       out there just to -- it's kind of a place to get
6       information about voting.
7              Q.    I see.
8                    Okay.    Does -- does Georgians for Verified
9       Voting have members other than you and Ms. Price?
10             A.    No, not anymore.
11             Q.    Okay.    Is it a paid position or a volunteer?
12             A.    Volunteer.
13             Q.    Can you tell me your understanding of what
14      the mission is of Georgians for Verified Voting?
15             A.    Just to keep voters informed and in
16      particular when we were voting on DREs to try to help
17      voters understand the flaws in that system and to
18      encourage them to vote on hand-marked paper ballots
19      so that there would be a record of their vote.
20             Q.    You say in paragraph 4 that your role in
21      GAVV has provided you with familiarity with Georgia's
22      election system of voting.            Based on my knowledge of
23      Georgia's system, including the vulnerability of DRE
24      machines to hacking and the lack of any paper trail,
25      I am afraid that my vote will not be counted equally

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1               question?
2       BY MR. BELINFANTE:
3               Q.      Sure.
4                       At the time you completed this declaration
5       on October 4 of 2019, have you read -- had you read
6       any documents from Dominion?
7                       MR. SPARKS:     Same instruction.
8                       THE WITNESS:      I honestly don't recall if I
9               had -- I know that there were handouts from the
10              Secretary of State's office.                  I did go to a
11              couple of meetings where it was discussed, and
12              they had handouts.         So more than likely, there
13              was something from Dominion.                  There were -- all
14              the systems that were being proposed had their
15              fliers and information on how their systems
16              worked.
17      BY MR. BELINFANTE:
18              Q.      When you say you went to meetings, were
19      those meetings hosted by the Georgia Secretary of
20      State?
21              A.      Yes.    They were in the Georgia court --
22      yeah.        Yes.
23              Q.      All right.     Other than information provided
24      to you by counsel, were there any -- anything else
25      that you used to make yourself familiar with the

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1       proposed election system?
2              A.    No.
3              Q.    Let's look at paragraph 6.              If you'll just
4       read that to yourself and then let me know when
5       you've done so.
6              A.    Yes.
7              Q.    Okay.    When you say you'll be forced to vote
8       on a system that I do not believe will count my vote
9       equally and fully, what did you mean by that?
10             A.    There's no way to know if my vote is counted
11      as cast because my vote is translated into a QR code,
12      which is not human readable.
13             Q.    Are you -- at the time that you completed
14      this application in October of 2019, were you aware
15      that the proposed election system as defined in this
16      declaration provided not only the QR code but also a
17      list of the voter's choice below?
18             A.    I'm not -- wait a minute.              I'm not
19      following.     Sorry.
20             Q.    That's all right.          Let me do this.
21                   All right.      Ms. Curling, I'm going to show
22      you what is Exhibit A to one of the declarations in
23      this case, which is a Barrow County official ballot
24      from November 3 of 2020.           Would you agree with me
25      that when a voter votes on a -- well, first off, can

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1       you see this?
2              A.    Yes, I can see it.
3              Q.    Okay.     Would you agree with me that when a
4       voter votes on Georgia's current election system, the
5       Dominion BMD system as I'll refer to it, this comes
6       out of the printer and the voter takes this printout
7       to a scanner --
8                    MR. SPARKS:      Objection --
9       BY MR. BELINFANTE:
10             Q.    -- or something like this?
11                   MR. SPARKS:      Objection; compound.
12                   You may answer.
13                   THE WITNESS:       Honestly, I've only voted on
14             BMD recently, and it's for municipal elections,
15             so I've never seen anything that looks like this
16             coming out of the printer.              I saw a single vote
17             was all.
18      BY MR. BELINFANTE:
19             Q.    You -- oh, go ahead.            I'm sorry.
20             A.    No.     That's okay.
21                   If you say that's what it looks like, I
22      guess that's what it looks like.                I honestly don't
23      know from experience.
24             Q.    All right.      You -- you recently voted in a
25      municipal election on the BMD system?

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1              A.      Yes, I did.
2              Q.      Do you have any reason to believe that your
3       vote was not counted?
4              A.      I have no way of knowing.
5              Q.      Do you have any reason to believe, though --
6       understanding that you may not know but do you have
7       any reason to believe that your vote was not counted?
8                      MR. SPARKS:     Objection; asked and answered.
9                      You can answer.
10                     THE WITNESS:     I mean, I maintain I could see
11             what the printed out said my vote was as I
12             intended; but I have no idea, when I put into the
13             scanner, the scanner read the QR code.               I don't
14             know.
15      BY MR. BELINFANTE:
16             Q.      Okay.   And when you voted, you did see the
17      list or the name of the candidate who you selected on
18      the actual ballot that was printed out from --
19             A.      Yes.
20             Q.      Okay.
21             A.      Yes.
22             Q.      And did you read it before turning it into
23      the scanner?
24             A.      Yes.
25             Q.      All right.     And so while this ballot is --

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1       of your choices, would that be objectionable to you?
2                    MR. SPARKS:      Objection.            It calls for
3              speculation and vague.
4                    You may answer, if you know.
5                    THE WITNESS:       I mean, I would have less of a
6              problem with it if there were no QR code.
7       BY MR. BELINFANTE:
8              Q.    Okay.    If you have less of a problem, then
9       that suggests to me there's still a problem.                   Could
10      you tell me what the problem would be if that -- if
11      the ballot just listed out your choices and did not
12      have the QR code?
13             A.    Well, the -- the problem for me is -- is
14      that everything is software dependent, and I feel
15      like even with hand-marked paper ballots that are
16      scanned risk-limiting audits are required to really
17      get voter confidence.
18             Q.    So is the issue then -- and, again, I'm
19      asking a hypothetical; and the hypothetical is that
20      you would vote and you would have a ballot like this
21      without the QR code.         Is the issue that you're voting
22      by machine and it's a machine that uses software?
23                   MR. SPARKS:      Objection; compound, calls for
24             speculation.
25                   You may answer, if you know.

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1                    You may answer.
2                    THE WITNESS:       That the voter is marking the
3              ballot themselves and it is inherently voter
4              verified.
5       BY MR. BELINFANTE:
6              Q.    And when you say marking the ballot
7       themselves, do you mean with a pen or pencil or other
8       writing device?
9              A.    Yes.
10             Q.    Okay.    Are you -- would -- if the Court were
11      to order hand-marked paper ballots using Scantron
12      technology or fill-in-the-bubble technology -- do you
13      know what I mean by that?
14             A.    Yes, I do.
15             Q.    If the Court would to order
16      fill-in-the-bubble or Scantron technology type
17      ballots, would that satisfy what you're seeking in
18      the lawsuit?
19                   MR. SPARKS:      Objection.            It calls for
20             speculation.
21                   You may answer.
22                   THE WITNESS:       With the addition of
23             risk-limiting audits.
24      BY MR. BELINFANTE:
25             Q.    So -- and is that a yes?                I'm sorry.

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1              A.    Yes.     With risk-limiting, yes.
2              Q.    Okay.     With risk-limiting audits, correct?
3              A.    Correct.     Yes.
4              Q.    Okay.     All right.       And are you opposed to
5       hand-marked paper ballots using bubble technology
6       being counted on a machine?
7              A.    Are you talking about marked and counted on
8       a machine?
9              Q.    No.     I'm talking about what you just defined
10      as hand-marked paper ballots and --
11             A.    Okay.
12             Q.    -- what's used the fill-in-the-bubble one
13      right now.     If the Court ordered fill-in-the-bubble
14      type ballots, would you be opposed to those ballots
15      being counted on a machine or tabulated on a machine?
16             A.    As long as there were risk-limiting audits,
17      I would be okay with that.
18             Q.    Okay.     If the machine that tabulated the
19      ballot had software, would you be opposed to the
20      machine tabulating the ballots?
21             A.    Again, I believe audits are required if any
22      machine is involved in tabulating the votes.
23             Q.    Okay.     So you're not asking for voters to
24      write out the name of the candidate and have humans
25      review that as the hand-marked paper ballot, correct?

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1              Q.    Okay.     Let's go to paragraph 9 on page 7.
2       You said in this complaint, which, again, was
3       verified in June of 2017, that it is presently
4       unknown if any party interfered with Georgia's
5       elections in 2016 or 2017.
6                    Sitting here today, is it still presently
7       unknown if any party interfered with Georgia's
8       elections in 2016 or 2017?
9                    MR. SPARKS:       Objection; vague.
10                   You may answer.
11                   THE WITNESS:        I would say it's unknown.
12                   (Court reporter clarification.)
13                   THE WITNESS:        Unknown.
14      BY MR. BELINFANTE:
15             Q.    Is it also unknown if any party interfered
16      with Georgia's elections in 2018?
17                   MR. SPARKS:       Same objection.
18                   You can answer.
19                   THE WITNESS:        I would say it's unknown.
20      BY MR. BELINFANTE:
21             Q.    Is it unknown if any party interfered with
22      Georgia's elections in 2020?
23             A.    I would say it's unknown.
24             Q.    Okay.     Sitting here today, do you have any
25      knowledge of any party's intent to interfere in

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1       Georgia's elections in 2022?
2              A.      In 2022?
3              Q.      Yes; in this year's election.
4              A.      Oh, the upcoming election, no, I -- I do not
5       know of any.
6              Q.      Okay.     I'm going to go to paragraph 26.
7       Here it says:          Despite this authority and ability to
8       avoid unsafe systems, Defendants allowed the special
9       election to be run on a compromised system.                  The
10      Defendants refused to use the only safe method for
11      conducting elections - paper ballots.
12                     Do you see that?
13             A.      Yes, I do.
14             Q.      Okay.     Would you agree with me that the BMD
15      system utilizes a paper ballot?
16             A.      Yes, it does.
17             Q.      Would you agree with me that the BMD paper
18      ballot is verifiable by the voter?
19                     MR. SPARKS:      Objection --
20                     THE WITNESS:       I would --
21                     MR. SPARKS:      -- vague.         It calls for
22             speculation.
23                     You may answer.
24                     THE WITNESS:       I would disagree with you on
25             that.

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1              speculation; and to the extent it calls for a
2              legal conclusion, I object as well.
3                    You may answer.
4                    THE WITNESS:       I would say that the person
5              who came up with risk-limiting audits -- and I
6              believe his name is Stark, Philip Stark -- that
7              as the person who created that, that I would
8              prefer his method to some of the other methods.
9       BY MR. BELINFANTE:
10             Q.    Okay.     Did you follow the post-election in
11      Georgia that's -- let me -- let me -- that's a
12      terrible question.        Let me start over.
13                   Did you follow the November 2020 general
14      election in Georgia?
15             A.    Yes, I did.
16             Q.    Okay.     And are you aware that the Secretary
17      ordered a recounting of ballots in the November 2022
18      [sic] presidential election?
19             A.    Yes, I am.
20             Q.    Okay.     Can you tell me your understanding of
21      how that recount proceeded?
22             A.    I think it was a hand recount; was it not?
23      Honestly, I don't remember.             I don't recall.
24             Q.    Okay.     Let me ask this, and I'll do it as a
25      hypothetical.        We went through and looked at a BMD

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1       ballot that identified candidates' names.                    If
2       counties were to recount a full recount of the BMD
3       ballot looking only at the names and not the QR code,
4       would that constitute a risk-limiting audit that
5       would satisfy your concerns?
6                     MR. SPARKS:      Objection.            It calls for
7              speculation and a legal conclusion.
8                     You may answer.
9                     THE WITNESS:       It would have to be determined
10             by someone much smarter than me.                  I have no idea.
11      BY MR. BELINFANTE:
12             Q.     Okay.     Is it your understanding that a
13      risk-limiting audit looks at a sample of ballots or
14      looks at all ballots?
15             A.     A sample ballots what?
16             Q.     Or all ballots?
17             A.     A sample.
18             Q.     Okay.     I'm going to show you paragraph 42 of
19      the Fulton County complaint.               This refers to CES.          Do
20      you recall what CES was --
21             A.     Yes.
22             Q.     -- and what you were --
23             A.     It was -- I'm sorry.
24             Q.     No, no.     I spoke over you.             Go ahead.     I'm
25      sorry.      Can you just -- go ahead.                I'll be quiet.

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1               A.      I'm sorry.    It's the -- the KSU Center for
2       Elections where they handled everything for the
3       Secretary of State at the time.
4               Q.      Okay.   The last sentence of paragraph 42
5       says:        In Georgia a bad actor could manipulate the
6       State's electrical process by targeting and
7       infiltrating CES.
8                       Do you see that?
9               A.      Yes, I do.
10              Q.      Sitting here today, do you have any
11      knowledge of any bad actor who actually manipulated
12      the State's electoral process by targeting and
13      infiltrating the CES?
14              A.      I have no information of that, but I also
15      have no information that it did not occur.
16              Q.      Okay.   I'm going to show you paragraph 131.
17      Here you allege that the failure to comply with the
18      Georgia Constitution and the Georgia Code concerning
19      elections is a violation of federal due process when
20      the patent and fundamental fairness of the election
21      is called into question.
22                      Do you see that?
23              A.      Okay.   I'm going to ask you to start over
24      because the page was behind and I wanted see it as
25      you spoke.

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1              speculation.
2                      You can answer.
3                      THE WITNESS:     Yeah, I can't answer that.
4              Yeah.     I mean, I see no reason to have a problem
5              with the printer.
6       BY MR. BELINFANTE:
7              Q.      Okay.   Are you concerned with the scanners
8       that the voter inserts the paper ballot into?
9              A.      Well, again, the fact that we're scanning, I
10      have no problem with that as long as there are
11      risk-limiting audits.
12             Q.      So boiled down in essence, this lawsuit is
13      about the use of a QR code as opposed to
14      fill-in-bubble balloting; is that correct?
15                     MR. SPARKS:    Objection.            It mischaracterizes
16             testimony.      It calls for a legal conclusion.
17                     You may answer.
18                     THE WITNESS:     I feel like my objection is
19             the lack of transparency that occurs through it
20             being translated to a -- to a bar -- to a QR
21             code, yes.
22      BY MR. BELINFANTE:
23             Q.      Okay.   So you do not have a concern with
24      bubble ballots, fill-in-the-bubble ballots, being
25      tabulated by a scanner; is that correct?

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1       you see here where it says, blank contest for
2       sheriff?
3               A.   Yes.
4               Q.   So we have --
5               A.   So it's prints -- okay.
6               Q.   Go ahead.
7               A.   No.     You go ahead.
8               Q.   I was going to say what do you understand
9       that -- that area or that -- that to mean, blank
10      contest?
11              A.   Well, if this is what the printer prints,
12      that was not my understanding.               I thought that
13      anything -- if you skipped a particular race that it
14      just would not show up; but you're -- what you're
15      showing me, it lists each one and it shows that that
16      was blank, that I intentionally left that blank.                   Is
17      that correct?
18              Q.   That's -- I mean, that's certainly what the
19      document seems to suggest, but the -- so -- and here,
20      too, you can see where there's a vote recorded for
21      the Constitutional Amendments 1 and 2.               Do you see
22      that?
23              A.   No, I don't.       Wait.      Wait.
24              Q.   Sure.
25              A.   Yes.     Okay.

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1       part that I'm looking at to verify that my votes are
2       accurately recorded.
3              Q.    But can the -- would you agree with me that
4       the voter can verify that the choices identified here
5       below the QR code are consistent with that voter's
6       intent?
7              A.    Yes.
8              Q.    I'm going back to your original complaint in
9       Fulton County.       Are you able to see this,
10      Ms. Curling?
11             A.    Yes.
12             Q.    Okay.    I'm on page 81 of the document using
13      the ECF number.       Part of the relief sought in this
14      middle bullet point is to grant injunctive relief
15      requiring that certification of results of the recent
16      Congressional District 6 elections and the elections
17      itself be declared void ab initio and enjoining the
18      future of Georgia's DRE-based voting system.
19                   Do you see that?
20             A.    Yes.
21             Q.    What did you understand that complaint to be
22      seeking in terms of relief as it relates to just that
23      bullet point?
24             A.    That the election results were invalid
25      because there's no way of knowing.                  This was on DREs,

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1                    Have you seen this document before?
2              A.    Yes, I have.
3              Q.    All right.
4                    MR. SPARKS:      Counsel, I do have a file
5              stamped clean copy of the operative complaint in
6              this case.      I'm going to hand it to the witness
7              so she can see what she needs to see with
8              clarity.      Is that permissible?
9                    MR. BELINFANTE:         Absolutely.     Thank you.
10      BY MR. BELINFANTE:
11             Q.    Let's go to paragraph 8, which is on page 5
12      of the complaint.        If you'll just read that and let
13      me know when you've completed it.
14             A.    Okay.     I'm finished.
15             Q.    Okay.     It says here that there is a risk
16      that a vote will not be properly counted.                Sitting
17      here today, do you have any reason to believe that
18      any vote cast in Georgia elections since the 2020 --
19      excuse me.
20                   Sitting here today, do you have any reason
21      to believe that any vote cast in a Georgia election
22      using the BMD machine was not properly counted?
23             A.    I would maintain there's no way to know.
24             Q.    Sitting here today, do you have any personal
25      knowledge that the declared results will be contrary

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1       to the will of the voters?
2              A.    Again, there's no way to know.
3              Q.    And sitting here today, do you have any
4       evidence that the system has been hacked by any third
5       parties?
6              A.    There's no way to know either way.
7              Q.    Would you agree with me that there are risks
8       associated with hand-marked paper ballots?
9              A.    Yes.
10             Q.    Okay.    And those risks could include the
11      hacking of scanner machines, couldn't it?
12             A.    Yes.
13             Q.    Okay.    And those risks could include that a
14      voter colors outside the line and their vote is not
15      counted, right?
16             A.    Correct.
17             Q.    And those risks could include someone
18      improperly completing ballots and in effect stuffing
19      them into a ballot box; is that correct?
20             A.    Are you -- I want to you make sure I
21      understand you.       You're saying in the case of
22      hand-marked paper ballots that someone could just
23      mark a bunch of random ballots and stuff them into
24      the box?
25             Q.    Yes.

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1               A.   Yeah.    Yeah.     I mean, I guess it's
2       theoretically possible; but I -- given the security,
3       I would be surprised if that were possible.
4               Q.   Okay.    Do you believe that the possibility
5       of hacking a scanner is a very real risk?
6                    MR. SPARKS:      Objection; vague.
7                    You may answer.
8                    THE WITNESS:       Yes, I would believe it is a
9               real risk.
10      BY MR. BELINFANTE:
11              Q.   Okay.    It says in the first sentence that
12      the case is not merely about a technical or
13      theoretical risk.        What did you mean by theoretical
14      risk?
15                   MR. SPARKS:      Objection to the extent it
16              calls for a legal conclusion.
17                   You may answer.
18                   THE WITNESS:       That something potentially
19              could have happened.         I think that's what it
20              means by theoretical, but -- I'm done.              Sorry.
21      BY MR. BELINFANTE:
22              Q.   Okay.    And what takes this lawsuit or your
23      concerns -- what makes it where it's not a
24      theoretical risk?
25              A.   I'm guessing we're talking about audits for

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1       me.
2              Q.    Okay.    So the theoretical risk of things
3       identified in this paragraph could be cured by
4       audits?     Is that your position?
5              A.    Honestly, I feel like it's all outside of my
6       limited knowledge to know; but I think that experts
7       could -- could make the system safer to use.
8              Q.    If the Court were to order -- and I
9       understand it's a hypothetical; but if the Court were
10      to say we're going to keep the BMDs as they are but
11      order risk-limiting audits as even Dr. Stark
12      suggests, would your concerns about elections be
13      resolved?
14                   MR. SPARKS:      Objection.            It calls for
15             speculation and a legal conclusion.
16                   You may answer.
17                   THE WITNESS:       I would have to think about it
18             more deeply, but just my first impression is yes.
19      BY MR. BELINFANTE:
20             Q.    And in paragraph 8 of the Third Amended
21      Complaint when it talks about these risks, were you
22      addressing both BMDs and the former DRE system?
23             A.    Are you talking about all the risks
24      mentioned in paragraph 8?
25             Q.    Yes.

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1              A.    Yes, it refers to both.
2              Q.    Okay.    So it's your position that there is
3       no way to verify the validity of an election on BMDs?
4                    MR. SPARKS:      Objection.            It mischaracterizes
5              testimony.
6                    You may answer.
7                    THE WITNESS:       No, I would not say that.           I
8              think it's -- with the audits, I think I would
9              find the results acceptable.
10      BY MR. BELINFANTE:
11             Q.    Okay.    So this statement here at the end of
12      the paragraph, the risk that there will be no way to
13      verify the validity of an election, that's not true
14      with the current BMD system, is it?
15             A.    Yes, it is true because we don't have a
16      risk-limiting audit in place.
17             Q.    Do you believe that the general election in
18      2020 -- that the validity of that election was not
19      verified?
20             A.    Was not verified?
21             Q.    Yes.
22             A.    Actually, 2020 is kind of a special
23      circumstance because of how important the election
24      was and the fact that the Secretary of State did
25      recounts and audits.         So I have a reasonable amount

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1       of faith in that -- I have -- I have faith that --
2       that the results are correct.
3              Q.    Okay.    Do you understand that the recounts
4       were limited to the presidential election?
5              A.    Yes, I do.      Yes, I do.         So, yes, just on
6       the -- yes, you're right.            There's no way of knowing
7       for the rest of it.        That's correct.
8              Q.    So -- so sitting here today, do you believe
9       that the results of the election of Senator Ossoff
10      were valid?
11             A.    I guess there's no way to know.
12             Q.    And the same would be true of Senator
13      Warnock?
14             A.    The same would be true.
15             Q.    The second sentence says that the case is
16      about forcing voters to choose between totally
17      relinquishing their right to vote.                  What do you mean
18      by that?
19             A.    Well -- okay.       If -- if you have no faith in
20      the system that you're using, then it's the same
21      thing as if, okay, I -- I don't believe the -- I
22      don't believe the system can accurately reflect my
23      vote, so, therefore, I just won't vote.
24                   And I guess that's -- I'm not sure which
25      part of the question you're asking about; but if

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1       you're asking about totally relinquishing the right
2       to vote, that's, I think, what that's referring to.
3              Q.    You voted in the general election in 2020,
4       didn't you?
5              A.    Yes, I did.
6              Q.    Did you vote using an absentee ballot?
7              A.    Yes, I did.
8              Q.    How did you return that absentee ballot?
9              A.    Through the mail.
10             Q.    Do you have any concerns that that ballot
11      was not counted?
12                   MR. SPARKS:      Objection; vague.
13                   You may answer.
14                   THE WITNESS:       I haven't had -- I haven't had
15             the best of luck in using the absentee ballot
16             system that is supposed to be your remedy if you
17             don't want to use the machines.              I would not know
18             if not for this lawsuit; but on more than one
19             occasion, my votes were not counted.
20      BY MR. BELINFANTE:
21             Q.    But in the November 2020 election, do you
22      have any reason to believe that your mail-delivered
23      absentee ballot was not counted?
24                   MR. SPARKS:      Objection; vague.
25                   You may answer.

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1       light, I believe.
2               Q.   And you don't have a problem if hand-marked
3       paper ballots are tabulated by an optical scanner as
4       you've just defined it, do you?
5               A.   Again, as long as there are audits, I do not
6       have a problem.
7               Q.   Let's look at paragraph 72.
8               A.   72?
9               Q.   Yes, ma'am.      If you'll just read that and
10      then tell me when you've done so.
11              A.   Okay.
12              Q.   All right.      I think we've covered this; but
13      when you say that the proposed system, which refers
14      to the BMD system, does not provide a meaningful way
15      for a voter to audit their vote, what did you mean by
16      audit their vote?
17              A.   Verify their vote.
18              Q.   Okay.    And the issue there again is the QR
19      code?
20              A.   Correct.
21              Q.   You say that the proposed election system,
22      which again refers to the BMDs, will not be
23      substantially safer than the current system.
24                   Do you believe that the proposed election
25      system or the BMD system is in any way safer than the

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1              Q.    So do you sitting here today believe that
2       the presidential election from November of 2020 in
3       Georgia was verified?
4              A.    Yes.
5              Q.    And can you tell me what steps or actions
6       taken lead you to that conclusion?
7              A.    The Secretary of State went through numerous
8       forms of diligence to ensure confidence in the race.
9              Q.    Do you believe that the presidential
10      election from November of 2020 violated anyone's
11      constitutional rights?
12                   MR. SPARKS:      Objection.            It calls for
13             speculation, vague.
14                   You may answer.
15                   THE WITNESS:       Not that I know of.
16      BY MR. BELINFANTE:
17             Q.    And is that because of the actions taken
18      after the election?
19                   MR. SPARKS:      Same objection.
20                   THE WITNESS:       Yes.
21      BY MR. BELINFANTE:
22             Q.    Even though you testified a moment ago that
23      the paper itself is worthless?
24                   MR. SPARKS:      Objection.
25                   THE WITNESS:       No, no.

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1                    MR. SPARKS:      Objection.
2                    THE WITNESS:       Okay.      I was reasoning through
3               that the paper is not worthless, but the fact
4               that the scanner does not read the human portion
5               of the paper makes it somewhat meaningless as far
6               as your question was concerned.
7       BY MR. BELINFANTE:
8               Q.   So is it fair to say that the paper is not
9       your ideal system, but it can at least lead to a
10      verified election?
11              A.   With the proper procedures in place, yes.
12              Q.   All right.      So in paragraph 72 where it
13      says, the proposed system does not provide a
14      meaningful way for a voter to audit their vote,
15      that's not accurate, is it?
16              A.   Wait a minute.        It is accurate.
17              Q.   Well, I guess my question then is what's the
18      difference between a meaningful way to audit a
19      vote -- well, how could someone not -- let me start
20      over.
21                   How could someone not have a meaningful way
22      to audit their vote, yet have an election that is
23      verifiable based on the proposed election system?
24              A.   I am quite confused about what you're
25      asking.

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1              paragraph are we?
2                    THE WITNESS:       80.
3                    MR. SPARKS:      80.     Thank you.
4       BY MR. BELINFANTE:
5              Q.    All right.      For the problems that are -- or
6       alleged problems that are identified in paragraph 80,
7       subparagraphs (a) through (e), do you have any
8       personal knowledge of any of those things actually
9       happening in a Georgia election utilizing the
10      Dominion BMD system?
11             A.    I don't know if they did or did not.
12             Q.    I'll show you paragraph 81.
13             A.    Yes.    I read that.
14             Q.    Okay.    All right.        This sentence, one
15      vulnerability was the ability of remote attackers to
16      implement a DNS attack, do you see that?
17             A.    Yes, I do.
18             Q.    What did you mean by DNS attack?
19             A.    I don't know.
20             Q.    Sitting here today, do you have any personal
21      knowledge of a DNS attack on the Georgia election
22      system?
23             A.    I don't know if one has or has not occurred.
24             Q.    Okay.    Sitting here today, do you have any
25      personal knowledge of an XML file being manipulated

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1       to redirect scanned votes to a different candidate
2       other than that of the voter's choice?
3              A.    I have no -- no way of knowing either way.
4                    MR. SPARKS:      Since we're coming up on the
5              lunch hour, I just wanted to put in mind that
6              when you get to a good point for a break we
7              should probably plan to take one.
8                    MR. BELINFANTE:         Sure.      Why don't we this.
9              I've got just a couple of questions in this area,
10             and then -- then we'll take a break.
11                   MR. SPARKS:      Okay.       That should be fine.
12             Thanks.
13                   MR. BELINFANTE:         Thank you.
14      BY MR. BELINFANTE:
15             Q.    All right.      If you could you look at
16      paragraph 87, which is on page 27 of the complaint.
17             A.    Okay.
18             Q.    My question is in the scheme of things, what
19      do you think is a more likely outcome, a voter making
20      a mistake on their ballot or a systemic attack on an
21      election?
22                   MR. SPARKS:      Objection.            It calls for
23             speculation.
24                   You may answer.
25                   THE WITNESS:       I don't know.           I mean, it

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1              depends on the voter.
2       BY MR. BELINFANTE:
3              Q.      Sitting here today, do you believe that
4       there has been a systemic attack on any Georgia
5       election?
6              A.      I have no way of knowing either way.
7              Q.      How could one prove to you that there has
8       not been a systemic attack on a Georgia election?
9              A.      They probably could not.
10                     MR. BELINFANTE:       Mr. Sparks, I'm about to
11             get into the counts.          So if you want to take a
12             break now, it might be an appropriate time to do
13             so.
14                     MR. SPARKS:    Yeah.       I think that should be
15             fine.
16                     MR. BELINFANTE:       Okay.      Would you guys like
17             to come back at -- at 12:50, 1:00?              You tell me.
18             I've probably got --
19                     We can go off the record, if that's all
20             right with everyone.
21                     THE VIDEOGRAPHER:        Stand by, please.
22                     The time is 11:51 a.m.           We are off video
23             record.
24                     (A lunch recess was taken.)
25                     THE VIDEOGRAPHER:        The time is 12:32 p.m.

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1       other intrusion and manipulation by individuals and
2       entities without authorization to do so?
3              A.    Yes; the KSU system in 2017.              Is that what
4       you're talking about?
5              Q.    I'm just talking about paragraph --
6              A.    Yes.
7              Q.    -- 116 (a).
8              A.    Yes.    So, yes, there -- there -- there was
9       an intrusion and that system was hacked.
10             Q.    Do you know who it was hacked by?
11             A.    Logan Lamb.
12             Q.    And did Logan Lamb, to your knowledge,
13      attempt to change the outcome of any election?
14             A.    To my knowledge, no; but he -- his access
15      means that a -- that many others could have had
16      access who could have.
17             Q.    Could have but you sitting here today have
18      no knowledge of anyone who actually did hack the
19      system?
20             A.    I have no knowledge anyone did or did not.
21             Q.    And there's no way that anyone could prove
22      to you that someone did not hack the system; isn't
23      that right?
24             A.    That's correct.
25             Q.    So when you say, though, that the -- Logan

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1       Lamb and the Kennesaw State incident involved the old
2       Diebold voting system; is that right?
3              A.    Yes.
4              Q.    Is it your understanding that the system
5       that was at KSU and that Logan Lamb hacked is still
6       used in Georgia today?
7                    MR. SPARKS:      Objection; vague.
8                    You may answer.
9                    THE WITNESS:       It is not.
10      BY MR. BELINFANTE:
11             Q.    All right.      So looking at today and as
12      paragraph 116 describes the proposed election system,
13      do you have any knowledge of an actual electronic
14      and/or other intrusion and manipulation by an
15      individual or entity without authorization to do so?
16             A.    No.    I have no evidence of either.
17             Q.    Paragraph 116 (b) also says that the
18      proposed election system, quote, fails to include
19      minimal and legally required steps to ensure that
20      such equipment cannot be operated without
21      authorization.
22                   What did you mean by minimal and legally
23      required steps?
24                   MR. SPARKS:      Objection.            It calls for a
25             legal conclusion.

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1                    You may answer.
2                    THE WITNESS:       I'm assuming -- this is for
3              like -- I don't know.          I don't know.      Election
4              workers, not -- I don't -- I don't know.
5       BY MR. BELINFANTE:
6              Q.    All right.      It also says that the proposed
7       election system in paragraph 116 (b) does not provide
8       the minimal and legally required protection for such
9       equipment to secure against unauthorized tampering.
10                   What did you mean by that?
11                   MR. SPARKS:      Same objection.
12                   You may answer.
13                   THE WITNESS:       And same answer.
14      BY MR. BELINFANTE:
15             Q.    All right.      In the last part of 116 (b), it
16      says that the proposed election system does not or
17      fails to ensure that all such equipment, firmware,
18      and software is reliable, accurate, and capable of
19      secure operation as required by law.
20                   What did you mean by that?
21                   MR. SPARKS:      Same objection.
22                   You may answer.
23                   THE WITNESS:       And same answer.
24      BY MR. BELINFANTE:
25             Q.    Is it your position that the scanners used

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1       in the Dominion system, or the current voting system,
2       are reliable, accurate, and capable of secure
3       operation as required by law?
4                      MR. SPARKS:    Same objection.
5                      You may answer.
6                      THE WITNESS:     I don't know.
7       BY MR. BELINFANTE:
8              Q.      Okay.   If the scanners that we currently use
9       with the BMD system were used to scan hand-marked
10      paper ballots and there was a risk-limiting audit,
11      would that constitute a constitutional method of
12      conducting elections in Georgia?
13                     MR. SPARKS:    Objection.            It calls for
14             speculation and a legal conclusion.
15                     You can answer.
16                     THE WITNESS:     I would feel better about it,
17             but I still feel like there's -- it's not
18             transparent.      The whole thing is just not
19             transparent.      So like even an audit isn't going
20             to guarantee me that my vote counts, and this is
21             about my vote and my lack of confidence in my
22             vote.
23      BY MR. BELINFANTE:
24             Q.      And what is -- okay.          So in that case, what
25      would give you confidence in your vote and have you

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1       overcome your fear that your vote is not being
2       counted?
3                    MR. SPARKS:      Objection; compound.
4                    You can answer.
5                    THE WITNESS:       I didn't hear the last part of
6              your question.
7       BY MR. BELINFANTE:
8              Q.    Sure.
9                    What would give you confidence that your
10      vote is counted so you could overcome your fear that
11      it is not counted?
12             A.    I don't know.       I would want to discuss it
13      with the experts that I know and let them, you know,
14      guide me as to the things that could help me to have
15      confidence.
16             Q.    So your confidence is dependent upon
17      conversations with experts?
18                   MR. SPARKS:      Objection.            It mischaracterizes
19             testimony.
20                   You can answer.
21                   THE WITNESS:       Yeah, conversations with
22             people who -- who know.
23      BY MR. BELINFANTE:
24             Q.    Ms. Curling, do you have any independent
25      opinion on what would -- what would satisfy your

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1       fears about elections in Georgia?
2                    MR. SPARKS:      Objection.            It calls for
3              speculation.
4                    You can answer.
5                    THE WITNESS:       No; but I mean, I would settle
6              for hand-marked paper ballots and -- and to be
7              scanned in and risk-limiting audits.
8       BY MR. BELINFANTE:
9              Q.    And to be clear when you say and scanned,
10      would you be satisfied if they were scanned on the
11      existing Dominion systems?
12             A.    I don't think it makes any difference which
13      scanner is used, but keep in mind that a lot of the
14      things that have been discovered are not known to me.
15      They're sealed.       I don't know what the experts found,
16      but I know specifically that -- that something was
17      found with the Dominion system.                And so that makes me
18      reluctant to say whether I would or would not be
19      happy with the Dominion scanner.
20             Q.    You said something was found.                What was that
21      something?
22             A.    I don't know.       I'm not privy to that
23      information.
24             Q.    So your fear of the scanners is based on
25      something you know that the experts at least

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1       purportedly discovered, but you don't have any
2       personal knowledge of what that is; is that correct?
3               A.   And I don't know if it was the scanner or
4       the B -- or the machine or the print -- I have no
5       idea what was found.         I don't know means I don't
6       know.
7               Q.   Okay.    At the time you filed this lawsuit,
8       what was the harm -- what was the injury that led you
9       to file the third amended complaint?
10                   MR. SPARKS:      Objection to the extent it
11              calls for a legal conclusion.
12                   THE WITNESS:       So when was this filed?
13              Honestly, it was so -- so long ago I just don't
14              remember.    I don't remember.
15      BY MR. BELINFANTE:
16              Q.   Okay.    You would agree with me, though, that
17      at the time you filed at this lawsuit -- and by
18      lawsuit -- let me -- let me start over.
19                   You would agree with me that the time you
20      filed the third amended complaint in October of 2019
21      you did not have any knowledge of an actual hack of
22      Georgia's election system, correct?
23              A.   I didn't have any evidence either way that
24      it had or had not.
25              Q.   Okay.    So at the time you filed the lawsuit

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1       in October of 2019, is it fair to say that your
2       injury was your fear that the system could be hacked?
3                       MR. SPARKS:     Objection.           It calls for a
4               legal conclusion, asked and answered.
5                       You may answer.
6                       THE WITNESS:     It is about the lack of
7               transparency.      This is about my vote, and I have
8               no way of knowing.        It's not about fear.           It's
9               about that there's no way to know, and I have a
10              problem with that.
11      BY MR. BELINFANTE:
12              Q.      And so the reason that you filed the
13      complaint is your concern of something that you don't
14      know?        Is that what I understand you to be testifying
15      to?
16              A.      No.   It's --
17                      MR. SPARKS:     Objection; mischaracterizes,
18              asked and answered.
19                      Go ahead, Ms. Curling.           I'm sorry to
20              interrupt you.
21                      THE WITNESS:     It's based on information,
22              things that I've read throughout my time of
23              working on this issue that concern me.                 So, no,
24              not that I don't know but just it's pretty broad.
25      BY MR. BELINFANTE:

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1              Q.    And do you have any reason to believe that a
2       vote you cast in the 2020 election, be it the primary
3       or the general election, was not counted?
4              A.    I don't know if it was or was not.
5              Q.    Okay.    Is there anything that anyone could
6       submit to you that would give you that confidence?
7              A.    No.
8              Q.    Let's look at paragraph 117 of the third
9       amended complaint, which starts on page 36 and goes
10      to page 37.
11                   MR. SPARKS:      Let the record reflect that
12             Ms. Curling still has a clean, unmarked as filed
13             copy of the third amended complaint for Curling
14             plaintiffs in front of her.
15                   THE WITNESS:       Starting at 116?
16      BY MR. BELINFANTE:
17             Q.    Paragraph 117, Ms. Curling.            Starting on
18      page --
19             A.    117, okay.
20                   Okay.    Just 117 or all of it?
21             Q.    Yes, ma'am, just 117.
22             A.    Okay.
23             Q.    Where it says that a system must be -- that
24      must be presumed to be compromised and incapable of
25      producing verifiable results -- let's start with the

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1       presumed to be compromised.             Why must the system be
2       presumed to be compromised?
3              A.    I'm assuming it's still about the -- the
4       fact that the system was breached.
5              Q.    Let's go back and look up at the top of
6       paragraph 30 -- or 116, excuse me, which discusses
7       the proposed election system.              Do you understand the
8       proposed election system to be the BMD system?
9              A.    Okay.    So -- all right.
10             Q.    So then going back to paragraph 117, which
11      again refers to the proposed election system, why
12      must the proposed election -- the Dominion BMD system
13      be presumed to be compromised?
14             A.    I don't know.
15             Q.    All right.      And as we kind of went through
16      before, it is possible to verify the results of an
17      election using the current Dominion BMD system, isn't
18      it?
19                   MR. SPARKS:      Objection.            It mischaracterizes
20             prior testimony.
21                   You may answer.
22                   THE WITNESS:       Would you repeat the question?
23      BY MR. BELINFANTE:
24             Q.    Sure.
25                   Sitting here today, do you -- do you believe

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1       that it is possible to verify the results of an
2       election using the BMD system?
3                    MR. SPARKS:      Same objection.
4                    You may answer.
5                    THE WITNESS:       Not conclusively, no.
6       BY MR. BELINFANTE:
7              Q.    Can you ever conclusively verify an election
8       result?
9              A.    Probably not.       I don't know.
10             Q.    All right.      Paragraph 119, if you'll go
11      ahead and read that and tell me once you have.
12             A.    Okay.
13             Q.    All right.      Paragraph 119 (c) asks for an
14      award of attorneys' fees and costs for Defendants'
15      causation of concrete injury to Plaintiffs.
16                   What is the concrete injury that you have
17      experienced as a result of the use of the Dominion
18      BMD system?
19                   MR. SPARKS:      Objection to the extent it
20             calls for a legal conclusion.
21                   You may answer.
22                   THE WITNESS:       I have no idea if my vote
23             counted or was not counted.              That's my injury.
24      BY MR. BELINFANTE:
25             Q.    And that would be true if you used a

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1       hand-marked paper ballot with an optical scanner as
2       well, wouldn't it?
3              A.    That's true.
4              Q.    You are seeking attorneys' fees in this
5       lawsuit; is that correct?
6              A.    Yes.
7              Q.    All right.      Do you have a retainer agreement
8       with the Morrison & Foerster law firm?
9              A.    I don't know the answer to that.             I mean, I
10      don't -- no, I don't think so.               I don't know.
11             Q.    Have you entered into an agreement with the
12      Morrison -- a written agreement with the Morrison &
13      Foerster law firm to represent you in this case?
14             A.    I remember signing something for each law
15      firm as this is our third law firm, but I don't
16      recall specifically if it was a retainer or what.                   I
17      don't -- I don't know anything about legal stuff, so
18      sorry.
19             Q.    Have you actually expended any personal
20      funds in the prosecution of this lawsuit?
21             A.    Not aside from some travel but -- early on,
22      not since.
23             Q.    Okay.    And early on was that with the
24      Holcomb & Ward law firm?
25             A.    It's when we were in D.C. with our second

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1       law firm Steptoe & Johnson.
2              Q.    Okay.       Would you be willing to provide us
3       any agreements that you have with the Morrison &
4       Foerster law firm?
5                    MR. SPARKS:        I'm going to object here,
6              Counsel.      I think at minimum Ms. Curling would
7              have to consult with counsel before agreeing to
8              such a provision.          I'm trying to give some
9              leeway, but that's a little much.
10                   MR. BELINFANTE:           Are you instructing her not
11             to answer?
12                   MR. SPARKS:        Yes.      Sorry.      I should be more
13             clear.     Yes.
14                   Ms. Curling, please don't answer that
15             question at least not at the moment.
16                   THE WITNESS:         Okay.
17      BY MR. BELINFANTE:
18             Q.    And I anticipate where this is going; but,
19      Ms. Curling, do have an agreement with the Krevolin &
20      Horst law firm, a written agreement?
21             A.    Same thing.        I'm unsure.
22             Q.    Count III alleges, as you can see on 119, a
23      violation of the due process clause.                   Can you explain
24      to me your understanding of what the violation of the
25      due process clause is?

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1                    MR. SPARKS:      Objection to the extent it
2              calls for a legal conclusion.
3                    You can answer.
4                    THE WITNESS:       Right to vote.
5       BY MR. BELINFANTE:
6              Q.    And your right to vote -- how is your right
7       to vote injured as a result of Georgia's use of the
8       proposed election system as alleged in the complaint?
9                    MR. SPARKS:      Same objection.
10                   You can answer.
11                   THE WITNESS:       Because I don't know if my
12             vote is counted as I cast my vote.
13      BY MR. BELINFANTE:
14             Q.    Count IV alleges a violation of the Equal
15      Protection Clause of the 14th Amendment.                Can you
16      tell me your understanding of what the harm is or
17      what the equal protection violation is in Georgia
18      elections using the -- as alleged in the complaint?
19             A.    I am not a hundred percent sure, but I think
20      it's saying that -- that everyone is to be treated
21      the same.
22             Q.    Who is treated differently as a result of
23      the way that Georgia conducts elections?
24             A.    I don't know.       I don't know the answer to
25      these questions.

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1              Q.    Okay.    Let's look at paragraph 124 on page
2       38 of the third amended complaint.
3                    All right.      Can the paper ballots that come
4       from Georgia's BMD system be recounted?
5                    MR. SPARKS:      Objection; vague.
6                    THE WITNESS:       I assume that they can be, but
7              I think general -- the general practice is to --
8              to re-scan.
9       BY MR. BELINFANTE:
10             Q.    And when you say here that absentee paper
11      ballots are verifiable recountable ballots, did you
12      mean recountable through scanning or did you mean
13      recountable by human review without a machine?
14             A.    They're verifiable by human review.
15             Q.    And that's because you can see the voter's
16      choice as bubbled in next to the candidate's name,
17      correct?
18             A.    Correct.
19             Q.    And with a BMD paper ballot, you can see the
20      voter's choice identified below the QR code; isn't
21      that correct?
22                   MR. SPARKS:      Objection.            It mischaracterizes
23             testimony.
24                   You may answer.
25                   THE WITNESS:       That's correct.

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1       protection for such equipment to secure against
2       authorization -- excuse me, unauthorized tampering.
3                    Sitting here today, do you know what those
4       minimal and legally required steps would be?
5              A.    No, I don't.
6              Q.    Okay.    If you could look at paragraph 129
7       and then just let me know once you've had a chance to
8       read that.
9              A.    Okay.
10             Q.    In your own words, can you explain to me
11      what you meant in that paragraph?
12             A.    They're talking about that it's not equal
13      the people who vote on the machines versus the people
14      who vote by absentee ballots.
15             Q.    Okay.    And why is it not equal?
16             A.    It's because the people who vote by absentee
17      ballots can verify their vote.
18             Q.    And a person voting on a BMD can read the
19      selection below the QR code and see the names of
20      candidates that they have chosen, correct?
21             A.    Correct.
22             Q.    And does that not constitute some form of
23      verifying their vote?
24             A.    It doesn't constitute how the scanner is
25      going to read their vote.

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1              Q.    Sure.
2                    And by the same token, would a voter voting
3       by absentee not be able to determine how a scanner is
4       going to read how they fill in the bubbles?
5              A.    That's correct.
6              Q.    All right.      Ms. Curling, have you ever been
7       employed by ChoicePoint, Incorporated?
8              A.    No.
9              Q.    Okay.    Is that -- was ChoicePoint a company
10      that your family members were employed by?
11             A.    My husband, yes.
12             Q.    Okay.    And ChoicePoint settled a matter with
13      the Federal Trade Commission in and around 2009,
14      didn't it?
15                   MR. SPARKS:      Counsel, I have to object at
16             this point to relevance.            Do you mind explaining
17             where we're going with this?
18                   MR. BELINFANTE:         Sure.      It involved a data
19             breach, and I'm just trying to determine the
20             significance of that to Ms. Curling.
21                   THE WITNESS:       Do you want me to answer it?
22                   MR. SPARKS:      It's his deposition.          Sure.    Go
23             ahead.
24                   THE WITNESS:       I mean, yes, I remember the
25             breach.     I remember how it was resolved; but it

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1              so.
2                     MR. BELINFANTE:        Sure.      Just let me know
3              when you've got it.
4                     MR. SPARKS:     Okay.       We have the document up
5              now.    Thank you.
6                     MR. BELINFANTE:        Okay.
7       BY MR. BELINFANTE:
8              Q.     And I acknowledge it's is a little blurry on
9       the screen.
10                    Ms. Curling, toward the back of this
11      e-mail -- well, never mind.
12                    You say on the first page -- well, again,
13      let me give you a chance -- I think my only questions
14      are going to be coming from your e-mail, this last
15      bit here starting with I'm laughing out loud down to
16      thanks for being careful.            So if you want to reread
17      that, I'll -- let me know when you've finished.
18             A.     Okay.   I remember this e-mail, so...
19                    Okay.
20             Q.     All right.     The last sentence of the first
21      paragraph says:       It's insane but voting has truly
22      become one of the most anxiety provoking American
23      activities and it should not be that way.
24                    What is it about voting that makes it an
25      anxiety provoking activity for you?

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1              A.    Okay.     Well, for one because I don't trust
2       the machines.        I have to go through the exercise of
3       getting an absentee ballot.             In the election in
4       question, the Secretary of State's office was
5       incredibly late.        You then have to like wait and hope
6       and pray you get your ballot in time to mark it and
7       return it so that your vote will be counted.                 That's
8       what I mean.
9              Q.    Okay.     Do you recall if in the -- this was
10      sent in October, so I presume you're talking about
11      the general election in November; is that correct?
12             A.    I guess so, yeah.
13             Q.    Okay.
14             A.    Let me see.      Okay.
15             Q.    And do you recall if in the November 2020
16      election how you returned your ballot, by mail or
17      drop box?
18             A.    Wow.     I -- okay.      I believe for 2020 my -- a
19      bunch of my friends and I requested our ballots at
20      the same time.        Theirs came in literally months
21      before mine.        My husband's and mine -- Doug got his
22      the Saturday before election day, and I got mine on
23      the Monday before election day.                So I filled it out
24      and then took it to the drop box and put it in.
25             Q.    Okay.     And your friends that got theirs

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1       months before, do they also live in Fulton County?
2              A.    Yes, they do.
3              Q.    Okay.     The second to last sentence on the
4       last paragraph says:          I still worry we will get
5       screwed here because of the machines, but I don't
6       think that they will be rejecting ballots for simple
7       things.
8                    Do you see that?
9              A.    Yeah.
10             Q.    When you said, I still worry we'll get
11      screwed here because of the machines, what were you
12      referring to?        What did you mean?
13             A.    I mean, if there were software programming
14      in the machines that could, you know -- would -- all
15      the things you worry about with a nontransparent
16      system.
17             Q.    And sitting here today, do you have any
18      reason to believe that your fears were materialized?
19             A.    I'll never know one way or another.
20             Q.    Sorry.     I'm just pulling up another
21      document.
22             A.    No problem.
23                   (Exhibit 11 was marked for
24             identification, attached at the end of
25             the original transcript.)

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1       yes.        I asked her to look at the signature
2       verification on the back and to make sure that
3       everything there was in order.                She said yes.    And I
4       said so if I leave my ballot here, this is where it
5       will get counted.         She said yes.          I left.
6                       I didn't find out until we were sitting in
7       the courtroom and -- that my vote didn't count that
8       particular election.           I don't know why, but it
9       didn't.
10             Q.       All right.     And -- and all of your voting
11      and the incidents you described, that occurred in
12      Fulton County?
13             A.       Yes.
14             Q.       Okay.   How long have you been a resident of
15      Fulton County?
16             A.       Since 1987.
17             Q.       All right.     Sorry.      I'm looking for a
18      document, and I'm having trouble locating it.
19                      MR. BELINFANTE:       All right.      Counsel, I know
20             we just did this, but that was -- I had to --
21             there was a different document that I was pulling
22             up.
23                      If everyone will give me ten minutes, I
24             could be done.         So if we go off the record and
25             reconvene at 2:15, I think we could conceivably

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1                                    CERTIFICATE
2       STATE OF GEORGIA:
3       COUNTY OF GWINNETT:
4                      I hereby certify that the foregoing
        transcript was taken down, as stated in the caption,
5       and the colloquies, questions and answers were
        reduced to typewriting under my direction; that the
6       transcript is a true and correct record of the
        evidence given upon said proceeding.
7                      I further certify that I am not a
        relative or employee or attorney of any party, nor am
8       I financially interested in the outcome of this
        action.
9                      I have no relationship of interest in
        this matter which would disqualify me from
10      maintaining my obligation of impartiality in
        compliance with the Code of Professional Ethics.
11                     I have no direct contract with any
        party in this action and my compensation is based
12      solely on the terms of my subcontractor agreement.
                       Nothing in the arrangements made for
13      this proceeding impacts my absolute commitment to
        serve all parties as an impartial officer of the
14      court.
                       This the 3rd day of February, 2022.
15
16
17                       <%12314,Signature%>
18
                                  ____________________________
19
                                  LAURA R. SINGLE, CCR-B-1343
20
21
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